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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,

         Plaintiffs,

  v.                                             Civil Action No. 4:20-cv-00957-SDJ

  GOOGLE LLC,

         Defendant.


  [PROPOSED] ORDER DENYING GOOGLE’S OPPOSED MOTION FOR LEAVE TO
                    FILE SUPPLEMENTAL BRIEFING

        This Court, having considered Google’s Opposed Motion for Leave to File Supplemental

 Briefing, filed April 15, 2024, hereby finds that the Motion should be DENIED. Defendant

 Google’s Supplemental Briefing in Support of its Rule 12(b)(1) Motion is hereby STRICKEN.

        IT IS SO ORDERED.




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